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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 IN RE: AMAZON.COM, INC.,
 FULFILLMENT CENTER FAIR LABOR                             Master File No. 3:14-md-2504
 STANDARDS ACT (FLSA) AND                                    MDL Docket No. 2504
 WAGE AND HOUR LITIGATION

 THIS DOCUMENT RELATES TO:
 Busk v. Integrity Staffing Solutions, Inc.,                 Case No. 3:14-cv-139-DJH


                                               * * * * *

                                               ORDER

       The plaintiffs seek preliminary approval of a class-action settlement in this case. (Docket

No. 127) Their motion is unopposed. (See id.) Following a telephonic preliminary fairness

hearing (D.N. 129) and careful consideration of the plaintiffs’ motion and supporting documents,

the Court will grant preliminary approval and conditional class certification for the reasons

explained below.

                                                  I.

       This case, like others in this MDL, involves claims that employees of Amazon and staffing

agencies used by Amazon were forced to undergo security checks for which they were not

compensated. The case was originally filed in the District of Nevada in 2010 (D.N. 1) and became

part of the MDL in 2014 following the Ninth Circuit’s decision that the plaintiffs’ state and federal

claims could proceed. (D.N. 66; see D.N. 24) Later that year, the Supreme Court held that time

spent on mandatory security checks was not compensable under federal law. Integrity Staffing

Sols., Inc. v. Busk, 574 U.S. 27 (2014). The plaintiffs then amended their complaint to assert only

state-law claims under Arizona and Nevada law. (D.N. 91) This Court granted Defendants’

subsequent motion to dismiss. (D.N. 109) The Sixth Circuit affirmed as to the claims under

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Arizona law but reversed as to the Nevada-law claims, which are thus the only claims remaining.

(D.N. 113; see D.N. 127-1, PageID # 1420 & n.1) Defendants’ petition for a writ of certiorari was

denied, and the case again returned to this Court. (D.N. 118) Following remand, the parties

conducted informal discovery and held a private mediation with a mediator experienced in

complex wage-and-hour disputes. (D.N. 127-1, PageID # 1420) Although the mediation was

initially unsuccessful, the parties continued negotiations and ultimately reached the settlement

agreement that is now before the Court. (Id., PageID # 1420-21)

       Plaintiffs seek certification of the following class for settlement purposes:

       All persons employed directly by Defendants as hourly paid warehouse employees
       who worked at Amazon warehouses in the state of Nevada at any time from October
       22, 2007 to April 3, 2020.

(Id., PageID # 1421)     The parties agree that all class members can be identified through

Defendants’ business records. (Id.)

       The total maximum settlement amount is $13,500,000. (Id.) That sum includes payments

to individual class members who submit claims; attorney fees and costs; incentive payments to the

four named plaintiffs; and fees for administration of the settlement. (Id.) In exchange for the

payments, any class member who does not timely request exclusion from the class will release

claims against the defendants arising out of the allegations made in this case. (Id., PageID # 1422)

Upon preliminary approval and conditional certification, notice will be sent to class members

informing them of the proposed settlement and explaining how to make a claim, object, or opt out.

(Id., PageID # 1423)

                                                II.

       Although the motion for preliminary approval is unopposed, the Court must still examine

the proposed settlement before notice of the proposal is sent to the class. See Fed. R. Civ. P.



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23(e)(1)(B); Tenn. Ass’n of Health Maint. Orgs., Inc. v. Grier, 262 F.3d 559, 565 (6th Cir. 2001)

(citing Williams v. Vukovich, 720 F.2d 909, 920-21 (6th Cir. 1983)). The Court may approve a

settlement only after determining that it is “fair, reasonable, and adequate.” Fed. R. Civ. P.

23(e)(2). At the preliminary stage, the Court “must make a preliminary determination” of these

factors. Manual for Complex Litigation (Fourth) § 21.632 (2004). The standard for preliminary

approval was codified in 2018, with Rule 23 now providing for notice to the class upon “the

parties’ showing that the court will likely be able to” (i) approve the proposed settlement under the

final-approval standard contained in Rule 23(e)(2) and (ii) certify the class for settlement purposes.

Fed. R. Civ. P. 23(e)(1)(B); see Newberg on Class Actions (5th ed.) § 13:10.

A.     Approval of Settlement

       For purposes of both preliminary and final approval, Rule 23 requires the Court to consider

whether

       (A)     the class representatives and class counsel have adequately represented the
               class;
       (B)     the proposal was negotiated at arm’s length;
       (C)     the relief provided for the class is adequate, taking into account:
               (i)     the costs, risks, and delay of trial and appeal;
               (ii)    the effectiveness of any proposed method of distributing relief to
                       the class, including the method of processing class-member claims;
               (iii) the terms of any proposed award of attorney’s fees, including
                       timing of payment; and
               (iv)    any agreement required to be identified under Rule 23(e)(3); and
       (D)     the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2); see Fed. R. Civ. P. 23(e)(1)(B).

       Paragraphs (A) and (B) of Rule 23(e)(2) “identify matters that might be described as

‘procedural’ concerns, looking to the conduct of the litigation and of the negotiations leading up

to the proposed settlement,” while paragraphs (C) and (D) “focus on what might be called a

‘substantive’ review of the terms of the proposed settlement.” Fed. R. Civ. P. 23(e)(2) advisory



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committee’s note to 2018 amendments. These factors, which are also part of the 2018 amendments

to Rule 23, are not meant “to displace any factor” previously relied on by the courts, “but rather to

focus the court and the lawyers on the core concerns of procedure and substance that should guide

the decision whether to approve the proposal.” Id. The rule largely encompasses the factors that

have been employed by the Sixth Circuit:

       (1) the “risk of fraud or collusion,” (2) the “complexity, expense and likely duration
       of the litigation,” (3) the “amount of discovery engaged in by the parties,” (4) the
       “likelihood of success on the merits,” (5) the “opinions of class counsel and class
       representatives,” (6) the “reaction of absent class members,” and (7) the “public
       interest.”

Doe v. Déjà Vu Consulting, Inc., 925 F.3d 886, 894-95 (6th Cir. 2019) (quoting UAW v. Gen.

Motors Corp., 497 F.3d 615, 631 (6th Cir. 2007)). In addition to the seven factors listed above,

the Sixth Circuit “ha[s] also looked to whether the settlement ‘gives preferential treatment to the

named plaintiffs while only perfunctory relief to unnamed class members.’” Vassalle v. Midland

Funding LLC, 708 F.3d 747, 756 (6th Cir. 2013) (quoting Williams, 720 F.2d at 925).

       The Sixth Circuit does not appear to have considered the new version of Rule 23(e)(2).

Since the amendment, courts within the Sixth Circuit have been applying both sets of factors. See,

e.g., Elliott v. LVNV Funding, LLC, No. 3:16-cv-00675-RGJ, 2019 U.S. Dist. LEXIS 143692, at

*18 (W.D. Ky. Aug. 23, 2019) (citing Peck v. Air Evac EMS, Inc., No. CV 5:18-615-DCR, 2019

U.S. Dist. LEXIS 11826 (E.D. Ky. July 17, 2019)). In light of the substantial overlap between the

two sets, they can easily be considered together.

       1.      Adequate Representation/Amount of Discovery/Counsel and
               Representatives’ Opinions

       This case has been litigated for more than ten years, with discovery throughout, and counsel

on both sides have extensive experience in similar cases. In light of these factors, the opinions of




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counsel and the class representatives, all of whom favor the settlement, support preliminary

approval. See Doe, 925 F.3d at 899.

       2.      Arm’s-Length Negotiations/Risk of Fraud or Collusion

       The procedural posture of the litigation indicates that “the agreement arose out of arms-

length, non-collusive negotiations.” Newberg on Class Actions § 13:14. This case has been

pending for more than a decade, with significant adversarial motion practice and discovery during

that time. It has been to the Supreme Court and back, and more recently to the Sixth Circuit and

back. See id. (“Where the proposed settlement was preceded by a lengthy period of adversarial

litigation involving substantial discovery, a court [is] likely to conclude that settlement

negotiations occurred at arms-length.”). The fact that the settlement was reached following

mediation likewise suggests an absence of collusion. Id. Thus, the second factor also weighs in

favor of preliminary approval.

       3.      Adequacy of Relief

               a.      Costs, Risks, and Delay of Trial and Appeal/Complexity, Expense,
                       and Likely Duration of the Litigation/Likelihood of Success on the
                       Merits

       The parties have already invested significant time and money in this complex litigation, at

significant risk. Proceeding to trial would entail further time and expense, with the outcome

uncertain—regardless of the strength of their claims, Plaintiffs could fail at the certification stage,

while Defendants could face even greater exposure if the case were to proceed.

               b.      Method of Distribution

       Any class member who submits a timely, complete claim form will be mailed a check in

the amount of that class member’s settlement award. (D.N. 127-2, PageID # 1463) If a claim

form is deficient, the class member will be notified and given an opportunity to correct the



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deficiency. (See id.) Thus, the method of distribution does not appear designed to prevent class

members from receiving payment.

               c.     Attorney Fees

       The parties’ agreement provides for attorney fees of up to $4,500,000 and up to $150,000

in costs. (D.N. 127-2, PageID # 1461) The proposed fee award thus represents one third of the

total settlement amount. Fee awards of 33 percent are frequently approved in complex wage-and-

hour cases. See, e.g., Jones v. H&J Rests., Inc., No. 5:19-CV-105-TBR, 2020 U.S. Dist. LEXIS

219071, at *17 (W.D. Ky. Nov. 23, 2020) (citations omitted). In light of this precedent and the

length and complexity of this litigation, the proposed fee award appears reasonable.

               d.     Other Agreements

       The settlement agreement states that it “contains the entire agreement between the Parties

relating to the settlement and transaction contemplated hereby, and all prior or contemporaneous

agreements, understandings, representations and statements, whether oral or written and whether

by a Party or such Party’s legal counsel, are merged herein.” (D.N. 127-2, PageID # 1471)

       4.      Equitable Treatment of Class Members/Preferential Treatment of Named
               Plaintiffs

       The settlement agreement provides for “service awards” to the named plaintiffs: $20,000

to Jesse Busk, the original plaintiff; and $15,000 each to Laurie Castro, Sierra Williams, and

Monica Williams, who were added to the case by amended complaint. (Id., PageID # 1450, 1459;

see D.N. 127-1, PageID # 1419) While these are significant amounts, they do not appear to be

excessive per se; class representatives frequently receive incentive payments of $50,000 or more.

See, e.g., Brotherton v. Cleveland, 141 F. Supp. 2d 907, 914 (S.D. Ohio 2001) (citations omitted).

Moreover, the relief to unnamed class members will not be “perfunctory,” Vassalle, 708 F.3d at

756, but based on the number of shifts they worked during the relevant time period. Assuming the

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named plaintiffs submit thorough documentation of their time spent on the litigation (as their

motion indicates they will), the incentive payments are likely appropriate.

       5.      Public Interest

       “[T]here is a strong public interest in encouraging settlement of complex litigation and

class action suits” generally “because they are ‘notoriously difficult and unpredictable’ and

settlement conserves judicial resources.” Doe, 925 F.3d at 899 (quoting In re Cardizem CD

Antitrust Litig., 218 F.R.D. 508, 530 (E.D. Mich. 2003)). This final factor therefore also supports

preliminary approval.

B.     Certification for Settlement Purposes

       The settlement class must meet the requirements of Rule 23(a) and (b). Manual for

Complex Litigation at 272. Under Rule 23(a), a class action may be maintained if

       (1)     the class is so numerous that joinder of all members is impracticable;
       (2)     there are questions of law or fact common to the class;
       (3)     the claims or defenses of the representative parties are typical of the
               claims or defenses of the class; and
       (4)     the representative parties will fairly and adequately protect the interests of
               the class.

Fed. R. Civ. P. 23(a). The Court must also find that the action satisfies subsection (b)(1), (2), or

(3). Here, the plaintiffs rely on subsection (b)(3), which provides that a class action is appropriate

if “the court finds that the questions of law or fact common to class members predominate over

any questions affecting only individual members, and that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

Each requirement appears to be satisfied here.




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       1.      Numerosity

       The settlement class is estimated to consist of 35,600 members. (D.N. 127-1, PageID #

1434) Any class of 41 or more is generally considered to be sufficiently numerous for purposes

of Rule 23. 5 Moore’s Federal Practice § 23.22[1][b] (2020).

       2.      Commonality

       There is a common question of fact among the settlement class members, namely whether

the members were subjected to uncompensated security checks during the relevant time period.

       3.      Typicality

       The typicality requirement is satisfied “if the class representative’s claims arise from the

same events, practice, or conduct, and are based on the same legal theory, as those of other class

members.” Id. § 23.24[2]. The class representatives in this case allegedly suffered the same injury

as the other class members, and the same legal theories apply to all.

       4.      Adequacy of Representation

       The primary concern with respect to this element is whether there is any conflict of interest

between the class representative and other class members. Id. § 23.25[2]. Nothing in the record

suggests that any of the class representatives has such a conflict, nor is there any indication that

the representatives are unable to vigorously prosecute the lawsuit or lack adequate counsel.

       5.      Predominance and Superiority

       Under Rule 23(b)(3), the Court must find both “[t]hat common questions of law or fact

predominate over questions affecting only individual members” and “[t]hat a class action is

superior to other available methods for resolving the controversy.” Id. § 23.44[1]. The Court is

unaware of any substantial individual questions that might arise in the context of this case.

Moreover, given the large number of class members and the fact that each member is likely only



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entitled to a relatively small amount (i.e., too small to justify bringing an individual action), a class

action is the superior method for resolving these claims.

C.       Notice to Class Members

         Rule 23 requires that the Court “direct to class members the best notice that is practicable

under the circumstances, including individual notice to all members who can be identified through

reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). Notice to class members must convey the

following information “clearly and concisely . . . in plain, easily understood language”:

         (i)     the nature of the action;
         (ii)    the definition of the class certified;
         (iii)   the class claims, issues, or defenses;
         (iv)    that a class member may enter an appearance through an attorney if the
                 member so desires;
         (v)     that the court will exclude from the class any member who requests
                 exclusion;
         (vi)    the time and manner for requesting exclusion; and
         (vii)   the binding effect of a class judgment on members under Rule 23(c)(3).

Id. To satisfy due process, “notice to the class [must] be ‘reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.’” Vassalle, 708 F.3d at 759 (quoting UAW, 497 F.3d at

629). The proposed notice in this case is sufficient: it contains the information required under Rule

23 and “fairly apprise[s] the prospective members of the class of the terms of the proposed

settlement so that class members may come to their own conclusions about whether the settlement

serves their interests.” Id. (quoting UAW, 497 F.3d at 630). (See D.N. 127-2, PageID # 1477-81)

                                                  III.

         For the reasons set forth above, and the Court being otherwise sufficiently advised, it is

hereby




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         ORDERED as follows:

         (1)    The unopposed motion for preliminary approval (D.N. 127) is GRANTED. The

 Court approves, as to form and content, the Notice of Pendency of Class Action, Proposed Class

 Action Settlement, and Hearing Date for Court Approval (“Notice of Pendency of Class Action”),

 in substantially the form attached to the Stipulation of Settlement as Exhibit A, and the Claim

 Form in substantially the form attached thereto as Exhibit B. The Court approves the procedure

 for Class Members to participate in, to opt out of and to object to, the Settlement as set forth in the

 Notice of Pendency of Class Action.

         (2)    The following class is conditionally certified for settlement purposes:

                All persons employed directly by Defendants as hourly paid warehouse
                employees who worked at Amazon warehouses in the state of Nevada at
                any time from October 22, 2007 to April 3, 2020.

         (3)    The Court directs the mailing of the Notice of Pendency of Class Action and

 Proposed Settlement and the Claim Forms by first-class mail to the Class Members in accordance

 with the Implementation Schedule set forth below. The Court finds that the dates selected for the

 mailing and distribution of the Notice and the Claim Form, as set forth in the Implementation

 Schedule, meet the requirements of due process and provide the best notice practicable under the

 circumstances and shall constitute due and sufficient notice to all persons entitled thereto.

         (4)    The Court confirms Plaintiffs Jesse Busk, Laurie Castro, Sierra Williams, and

 Monica Williams as Class Representatives and Thierman Buck, LLP as Class Counsel.

         (5)    The Court confirms Simpluris Inc. as the Claims Administrator.

         (6)    This matter is set for a final fairness hearing on May 19, 2021, at 1:00 p.m. Eastern

 Time.    The hearing will be held by videoconference.           Instructions for connecting to the

 videoconference will be posted on the Court’s website.



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       (7)    This matter shall proceed in accordance with the following Implementation

 Schedule:

  a.         Deadline for Defendants to             March 11, 2021
             Submit Class Member
             Information to Claims
             Administrator
  b.         Deadline for Claims                    March 21, 2021
             Administrator to Mail the
             Notice and the Claim Form to
             Class Members
  c.         Deadline for Class Members to          May 5, 2021
             Postmark Claim Forms
  d.         Deadline for Class Members to          May 5, 2021
             Postmark Requests for
             Exclusions
  e.         Deadline for Receipt by Court          May 5, 2021
             and Counsel of any Objections
             to Settlement
  f.         Deadline for Class Counsel to          May 12, 2021
             file Motion for Final Approval
             of Settlement, Attorneys’ Fees,
             Costs, and Enhancement
             Award
  g.         Deadline for Class Counsel to          May 12, 2021
             File Declaration from Claims
             Administrator of Due Diligence
             and Proof of Mailing
  h.         Final Fairness Hearing                 May 19, 2021
  i.         Deadline for Defendants to             14 calendar days after
             Fund Settlement Account                Effective Date
             maintained by Claims
             Administrator
  j.         Deadline for Claims                    5 calendar days after
             Administrator to wire transfer         Defendants Fund Settlement
             the Attorneys’ Fees and Costs          Account
             to Class Counsel (if Settlement
             is Effective)
  k.         Deadline for Claims                    10 days after Defendants
             Administrator to mail the              Fund Settlement Account
             Settlement Awards to Class
             Members and the Enhancement
             Awards to Class
             Representatives (if Settlement
             is Effective)

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  l.             Claims Administrator to File          90 calendar      days   after
                 Proof of Payment of Settlement        Effective Date
                 Awards, Enhancement Award,
                 Attorneys’ Fees and Costs (if
                 Settlement is Effective)




       February 25, 2021




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